72 F.3d 127NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Leamon PARTIN, Plaintiff-Appellant,v.Franklin FREEMAN;  Louis R. Colombo;  Cecelia M. Goetz;Juanita H. Baker, Defendants-Appellees.
    No. 95-7216.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 7, 1995.Decided Dec. 20, 1995.
    
      Leamon Partin, Appellant Pro Se.
      Before WIDENER and HALL, Circuit Judges, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  Partin v. Freeman, No. CA-95-588-5 (E.D.N.C. July 13, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    